CM/ECF-GA Northern District Court                                  https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?30016731945109...
                         Case 4:15-cv-00245-HLM Document 160 Filed 04/13/18 Page 1 of 1




                                                  4:15-cv-00245-HLM
                                         Coward et al v. Forestar Realty, Inc. et al
                                             Honorable Walter E. Johnson


                                    Minute Sheet for proceedings held In Chambers on 04/13/2018.


              TIME COURT COMMENCED: 10:00 A.M.
              TIME COURT CONCLUDED: 2:15 P.M.
                                                                  DEPUTY CLERK: Kari Butler
              TIME IN COURT: 4:15
              OFFICE LOCATION: Rome

        ATTORNEY(S)       Michael Carvalho representing Anthony Coward
        PRESENT:          Douglas Henderson representing Forestar Realty, Inc.
                          Justin Wong representing Forestar Realty, Inc.
        OTHER(S) PRESENT: Michael Clements
                          Anthony Coward
                          Wendy Coward
                          Brian Blythe
        PROCEEDING
                          Mediation
        CATEGORY:
        MINUTE TEXT:      Mediation held on 4/13/18. Case did not settle.
        HEARING STATUS:   Hearing Concluded




                                                                                                                     4/13/2018 2:36 PM
